
In re Caston, Larry; — Plaintiff; Applying For Supervisory and/or Remedial *1126Writs, Parish of Orleans, Criminal District Court Div. F, No. 354-600; to the Court of Appeal, Fourth Circuit, No. 2014-K-0247.
Denied. La.C.Cr.P. art. 980.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172. See also State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030.
